Case 1:24-cv-06259-NCM-VMS          Document 1-1        Filed 09/06/24      Page 1 of 31 PageID #:
                                            76



                                           EXHIBIT A
           PATTERN OF RACKETEERING ACTIVITY – PREDICATE ACTS
  CLAIMANT A
    A-1.   On or about March 18, 2019, Runner Defendants recruited and/or introduced
           Claimant A to Wingate Defendants who together with Bangel Defendants referred
           Claimant A to the Medical Provider Defendants for purported diagnosis and treatment
           of medical conditions allegedly caused by a purported injury of that date during the
           course of Claimant A’s employment with a construction company. Claimant A,
           subsequently, was assisted by the Defendants to undergo diagnostic and treatment
           protocols that were unnecessary and were unrelated to the alleged accident for which
           Claimant A was compensated. Upon information and belief, the acts and conducts of
           the Defendants were effectuated, in part by means of telephone calls, texts, emails and
           use of the mails, in violation of 18 U.S.C. § 1341 (mail fraud), § 1343 (wire fraud,) and
           NY Penal Code § 215 (bribery).
    A-2.   On or about December 13, 2021, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. § 1341, Wingate Partners, or an employee of the Wingate Firm at the
           direction of Wingate Partners, mailed a Verified Bill of Particulars dated December 8,
           2021 falsely attesting to the construction accident, the existence and/or extent of
           Claimant A’s injuries, and the necessity of Claimant A’s medical treatment.
    A-3.   On or about December 26, 2019, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. §§ 1341 or 1343, Bangel Partners, or an employee of the Bangel Firm at
           the direction of Bangel Partners, caused to be transmitted by mail, facsimile or email
           to NY WCB Form OC-400 Notice dated December 26, 2019.
    A-4.   On or about March 5, 2021, in furtherance of the Fraud Scheme, and in violation of 18
           U.S.C. § 1341, Bangel Partners, or an employee of the Bangel Firm at the direction
           of Bangel Partners, caused to be transmitted by facsimile a WCB Form OC-400 Notice
           fee application to NY WCB falsely attesting to the construction accident, the existence
           and/or extent of Claimant A’s injuries, and the necessity of Claimant A’s medical
           treatment, and requesting over $40,000.00 in attorney’s fees.
    A-5.   On or about March 5, 2021, in furtherance of the Fraud Scheme, and in violation of 18
           U.S.C. § 1341, Bangel Partners, or an employee of the Bangel Firm at the direction
           of Bangel Partners, caused to be transmitted by facsimile a Section 32 WCL Settlement
           Agreement falsely attesting to the construction accident, the existence and/or extent of
           Claimant A’s injuries, and the necessity of Claimant A’s medical treatment, resulting in
           a settlement amount in excess of $300,000.00.
    A-6.   On or about October 30, 2019, in furtherance of the Fraud Scheme, and in violation of
           18 U.S.C. § 1341, Kaplan caused a C-4 Form Doctor’s Initial Report dated October
           10, 2019 regarding Claimant A to be transmitted by facsimile to the NY WCB. Upon
           information and belief, Kaplan caused his Doctor’s Initial Report to be transmitted by

    EXHIBIT A                                                                                     1
Case 1:24-cv-06259-NCM-VMS         Document 1-1        Filed 09/06/24     Page 2 of 31 PageID #:
                                           77



           mail, facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant
           A’s workers’ compensation claim and personal injury lawsuit in furtherance of the
           scheme to defraud.
    A-7.   On or about November 22, 2019, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. § 1341, Kaplan caused a C-4.2 Form Doctor’s Progress Note dated
           November 15, 2019 regarding Claimant A to be transmitted by facsimile to the NY
           WCB. Upon information and belief, Kaplan caused his Progress Note to be transmitted
           by mail, facsimile or email to Wingate Partners and/or Bangel Partners to support
           Claimant A’s workers’ compensation claim and personal injury lawsuit in furtherance
           of the scheme to defraud.
    A-8.   On or about December 13, 2019, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. § 1341, Grimm caused to be transmitted by facsimile to the NY WCB a
           C-4.2 Form Doctor’s Progress Note dated December 10, 2019 noting his treatment of
           Claimant A with cervical epidural steroid injection with diagnostic epidurography. The
           medical services were unnecessary and/or were not causally related to the alleged
           accident, but were provided in order to increase the medical services for which NY
           Ortho Defendants received reimbursement and to increase workers’ compensation
           claim and personal injury lawsuit settlement value. Upon information and belief,
           Grimm caused his Progress Note to be transmitted by mail, facsimile or email to
           Wingate Partners and/or Bangel Partners to support Claimant A’s workers’
           compensation claim and personal injury lawsuit in furtherance of the scheme to defraud
    A-9.   On or about January 9, 2020, in furtherance of the Fraud Scheme, and in violation of
           18 U.S.C. §§ 1341 or 1343, Manhattan SC caused to be transmitted by mail, facsimile
           or email to the NY WCB a report and bill pertaining to Claimant A’s November 25,
           2019 cervical epidural steroid injection and epidurogram performed by Grimm. The
           medical services were unnecessary and/or were not causally related to the alleged
           accident, but were provided in order to increase the medical services for which
           Manhattan SC and NY Ortho Defendants received reimbursement and to increase
           workers’ compensation claim and personal injury lawsuit settlement value. Upon
           information and belief, Manhattan SC caused the report and bill to be transmitted by
           mail, facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant
           A’s workers’ compensation claim and personal injury lawsuit in furtherance of the
           scheme to defraud.
    A-10. On or about January 14, 2020, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1341, Grimm caused to be transmitted by facsimile to the NY WCB a C-
          4.2 Form Doctor’s Progress Note dated January 10, 2020 noting his treatment of
          Claimant A with lumbar epidural steroid injection with diagnostic epidurography. The
          medical services were unnecessary and/or were not causally related to the alleged
          accident, but were provided in order to increase the medical services for which NY
          Ortho Defendants received reimbursement and to increase workers’ compensation
          claim and personal injury lawsuit settlement value. Upon information and belief,

    EXHIBIT A                                                                                   2
Case 1:24-cv-06259-NCM-VMS         Document 1-1       Filed 09/06/24     Page 3 of 31 PageID #:
                                           78



           Grimm caused his Progress Note to be transmitted by mail, facsimile or email to
           Wingate Partners and/or Bangel Partners to support Claimant A’s workers’
           compensation claim and personal injury lawsuit in furtherance of the scheme to
           defraud.
    A-11. On or about January 14, 2020, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, Manhattan SC caused to be transmitted by mail, facsimile
          or email to the NY WCB a report and bill pertaining to Claimant A’s December 5, 2019
          lumbar epidural steroid injection and epidurogram performed by Grimm. The medical
          services were unnecessary and/or were not causally related to the alleged accident, but
          were provided in order to increase the medical services for which NY Ortho Defendants
          and Manhattan SC received reimbursement and to increase workers’ compensation
          claim and personal injury lawsuit settlement value. Upon information and belief,
          Manhattan SC caused the report and bill to be transmitted by mail, facsimile or email
          to Wingate Partners and/or Bangel Partners to support Claimant A’s workers’
          compensation claim and personal injury lawsuit in furtherance of the scheme to
          defraud.
    A-12. On or about March 16, 2020, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1341, Golzad caused to be transmitted by facsimile to the NY WCB a
          report of his examination of Claimant A on February 26, 2020 in which he falsely noted
          suspected traumatic brain injury and post concussion syndrome and recommended
          brain MRIs and formal neuropsychological evaluation and neurovestibular evaluation.
          The recommended medical services were unnecessary and/or were not causally related
          to the alleged accident, but were recommended and subsequently provided in order to
          increase the medical services for which NYC MNO Defendants received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Golzad caused his report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant A’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    A-13. On or about June 1, 2020, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1341, Golzad caused to be transmitted by facsimile to the NY WCB a report
          of his examination of Claimant A on May 19, 2020 in which he falsely noted traumatic
          brain injury with post concussion syndrome and recommended brain MRIs. The
          recommended medical services were unnecessary and/or were not causally related to
          the alleged accident, but were recommended and subsequently provided in order to
          increase the medical services for which NYC MNO Defendants received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Golzad caused his report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant A’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.


    EXHIBIT A                                                                                  3
Case 1:24-cv-06259-NCM-VMS          Document 1-1       Filed 09/06/24     Page 4 of 31 PageID #:
                                            79



    A-14. On or about June 14, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1341, Weinstein caused to be transmitted by facsimile to the NY WCB a claim
          form and report of Claimant A’s May 20, 2019 examination in which he falsely
          diagnosed Claimant A with cervical radiculopathy and left shoulder internal
          derangement. Upon information and belief, Weinstein caused his claim form and report
          to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
          to support Claimant A’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    A-15. On or about September 10, 2019, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, Weinstein caused to be transmitted by mail, facsimile
          or email to the NY WCB a claim form for left shoulder surgery performed on Claimant
          A at New York Surgery Center Queens on August 22, 2019. The medical services were
          unnecessary and/or were not causally related to the alleged accident, but were provided
          in order to increase the medical services for which Weinstein Defendants received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Weinstein caused his claim form
          to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
          to support Claimant A’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    A-16. On or about February 11, 2020, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1341, Weinstein caused to be transmitted by facsimile to the NY WCB a
          report of his examination of Claimant A on January 29, 2020 in which he falsely
          diagnosed Claimant A with right shoulder internal derangement/impingement/rotator
          cuff tear. Upon information and belief, Weinstein caused his report to be transmitted by
          mail, facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant
          A’s workers’ compensation claim and personal injury lawsuit in furtherance of the
          scheme to defraud.
    A-17. On or about August 19, 2020, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, CitiMed Practice caused to be transmitted by mail,
          facsimile or email to the NY WCB a physiatric follow up report of Claimant A’s August
          19, 2020 examination falsely noting cervical, thoracic and lumbar sprain/strain,
          bilateral shoulder sprain/strain and bilateral knee sprain/strain and recommended
          continued physical therapy. The recommended medical services were unnecessary
          and/or were not causally related to the alleged accident, but were recommended and
          subsequently provided in order to increase the medical services for which CitiMed
          Practice received reimbursement and to increase workers’ compensation claim and
          personal injury lawsuit settlement value. Upon information and belief, CitiMed
          Practice caused this report to be transmitted by mail, facsimile or email to Wingate
          Partners and/or Bangel Partners to support Claimant A’s workers’ compensation claim
          and personal injury lawsuit in furtherance of the scheme to defraud.



    EXHIBIT A                                                                                   4
Case 1:24-cv-06259-NCM-VMS          Document 1-1       Filed 09/06/24     Page 5 of 31 PageID #:
                                            80



    A-18. On or about May 5, 2021, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, CitiMed Practice caused to be transmitted by mail, facsimile
          or email to the NY WCB a physiatric follow up report of Claimant A’s May 5, 2021
          examination falsely noting cervical, thoracic and lumbar sprain/strain, bilateral
          shoulder sprain/strain and bilateral knee sprain/strain and recommended continued
          physical therapy. The recommended medical services were unnecessary and/or were
          not causally related to the alleged accident, but were recommended and subsequently
          provided in order to increase the medical services for which CitiMed Practice received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, CitiMed Practice caused this
          report to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel
          Partners to support Claimant A’s workers’ compensation claim and personal injury
          lawsuit in furtherance of the scheme to defraud.
    A-19. On or about May 9, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, Kosharskyy caused to be transmitted by mail, facsimile or
          email to the NY WCB a C-4 Initial Report of Claimant A’s May 9, 2019 examination
          during which Kosharskyy administered epidural steroid injection and epidurogram.
          The medical services were unnecessary and/or were not causally related to the alleged
          accident, but were provided in order to increase the medical services for which Pain
          Defendants received reimbursement and to increase workers’ compensation claim and
          personal injury lawsuit settlement value. Upon information and belief, Kosharskyy
          caused his report to be transmitted by mail, facsimile or email to Wingate Partners
          and/or Bangel Partners to support Claimant A’s workers’ compensation claim and
          personal injury lawsuit in furtherance of the scheme to defraud.
    A-20. On or about October 24, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, Kosharskyy caused to be transmitted by mail, facsimile or
          email to the NY WCB a C-4.2 Progress Report of Claimant A’s October 24, 2019
          examination during which Kosharskyy administered epidural steroid injection and
          epidurogram. The medical services were unnecessary and/or were not causally related
          to the alleged accident, but were provided in order to increase the medical services for
          which Pain Defendants received reimbursement and to increase workers’ compensation
          claim and personal injury lawsuit settlement value. Upon information and belief,
          Kosharskyy caused his report to be transmitted by mail, facsimile or email to Wingate
          Partners and/or Bangel Partners to support Claimant A’s workers’ compensation claim
          and personal injury lawsuit in furtherance of the scheme to defraud.
    A-21. On or about April 16, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Kolb caused to be transmitted by email to the NY WCB Claimant A’s
          MRI-shoulder report falsely noting a partial rotator cuff. Upon information and belief,
          Kolb caused his report to be transmitted by mail, facsimile or email to Wingate Partners
          and/or Bangel Partners to support Claimant A’s workers’ compensation claim and
          personal injury lawsuit in furtherance of the scheme to defraud.


    EXHIBIT A                                                                                   5
Case 1:24-cv-06259-NCM-VMS          Document 1-1        Filed 09/06/24      Page 6 of 31 PageID #:
                                            81



    A-22. On or about April 16, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Kolb caused to be transmitted by email to the NY WCB Claimant A’s
          MRI-spine cervical report falsely noting disc herniation at C3-4 and C4-5 and disc
          bulges at C5-6 and C6-7. Upon information and belief, Kolb caused his report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant A’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    A-23. On or about June 1, 2020, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Lenox Hill electronically signed and transmitted to Weinstein and also
          transmitted by email to NY WCB Claimant A’s MRI-cervical spine on April 30, 2020
          falsely noting disc herniation at C3-4 and C4-5 and disc bulges at C6-7 and C7-11.
          Upon information and belief, Lenox Hill caused the report to be transmitted by mail,
          facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant A’s
          workers’ compensation claim and personal injury lawsuit in furtherance of the scheme
          to defraud
  CLAIMANT B
    B-5.   On or about September 16, 2019, Runner Defendants recruited and/or introduced
           Claimant B to Wingate Defendants who together with Bangel Defendants referred
           Claimant B to the Medical Provider Defendants for purported diagnosis and treatment
           of medical conditions allegedly caused by a purported injury of that date during the
           course of Claimant B’s employment with a construction company. Claimant B,
           subsequently, was assisted by the Defendants to undergo diagnostic and treatment
           protocols that were unnecessary and were unrelated to the alleged accident for which
           Claimant B was compensated. Upon information and belief, the acts and conducts of
           the Defendants were effectuated, in part by means of telephone calls, texts, emails and
           use of the mails, in violation of 18 U.S.C. § 1341 (mail fraud), § 1343 (wire fraud,) and
           NY Penal Code § 215 (bribery).
    B-6.   On or about April 22, 2021, in furtherance of the Fraud Scheme, and in violation of 18
           U.S.C. §§ 1341 or 1343, Wingate Partners, or an employee of the Wingate Firm at
           the direction of Wingate Partners, transmitted by mail, facsimile or email to defense
           counsel HIPAA authorization for the release of Claimant B’s fraudulent medical
           records.
    B-7.   On or about July 22, 2022, in furtherance of the Fraud Scheme, and in violation of 18
           U.S.C. §§ 1341 or 1343, Wingate Partners, or an employee of the Wingate Firm at
           the direction of Wingate Partners, transmitted by mail, facsimile or email to defense
           counsel a Sixth Supplemental Verified Bill of Particulars attesting falsely attesting to
           the construction accident, the existence and/or extent of Claimant B’s injuries, and the
           necessity of Claimant B’s medical treatment, and attaching a copy of Kaplan’s July 6,
           2022 operative report of Claimant B’s right knee surgery.



    EXHIBIT A                                                                                     6
Case 1:24-cv-06259-NCM-VMS          Document 1-1       Filed 09/06/24     Page 7 of 31 PageID #:
                                            82



    B-8.   On or about November 14, 2019, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. §§ 1341 or 1343, Bangel Partners, or an employee of the Bangel Firm at
           the direction of Bangel Partners, caused to be transmitted by mail, facsimile or email
           to NY WCB a Request for Further Action requesting that Claimant B’s claim be
           established by the Board based on Claimant B’s fraudulent accident/injury.
    B-9.   On or about May 7, 2020, in furtherance of the Fraud Scheme, and in violation of 18
           U.S.C. §§ 1341 or 1343, Bangel Partners, or an employee of the Bangel Firm at the
           direction of Bangel Partners, caused to be transmitted by mail, facsimile or email to
           NY WCB a Request for Further Action concerning Claimant B’s alleged neck injury.
    B-10. On or about June 12, 2020, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Kaplan caused a C-4.2 Form Doctor’s Progress Note regarding
          Claimant B June 5, 2020 examination to be transmitted to the NY WCB falsely noting
          symptomatic meniscal tear of the right knee. Upon information and belief, Kaplan
          caused his Progress Note to be transmitted by mail, facsimile or email to Wingate
          Partners and/or Bangel Partners to support Claimant B’s workers’ compensation claim
          and personal injury lawsuit in furtherance of the scheme to defraud.
    B-11. On or about July 17, 2020, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Kaplan caused to be transmitted to the NY WCB C-4.2 Progress Report
          with operative report of Claimant B’s June 17, 2020 right knee surgery. The medical
          services were unnecessary and/or were not causally related to the alleged accident, but
          were provided in order to increase the medical services for which NY Ortho Defendants
          received reimbursement and to increase workers’ compensation claim and personal
          injury lawsuit settlement value. Upon information and belief, Kaplan caused his report
          to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
          to support Claimant B’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    B-12. On or about July 17, 2020, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, Manhattan SC caused to be transmitted by mail, facsimile or
          email to the NY WCB a report pertaining to Claimant B’s June 17, 2020 right knee
          surgery performed by Kaplan. The medical services were unnecessary and/or were not
          causally related to the alleged accident, but were provided in order to increase the
          medical services for which Pain Defendants and Manhattan SC received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Manhattan SC caused the report
          to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
          to support Claimant B’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    B-13. On or about July 6, 2022, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, Kaplan caused to be transmitted by mail, facsimile or email
          to the NY WCB a report of Claimant B’s July 6, 2022 right knee surgery. The medical

    EXHIBIT A                                                                                   7
Case 1:24-cv-06259-NCM-VMS          Document 1-1       Filed 09/06/24      Page 8 of 31 PageID #:
                                            83



           services were unnecessary and/or were not causally related to the alleged accident, but
           were provided in order to increase the medical services for which Pain Defendants
           received reimbursement and to increase workers’ compensation claim and personal
           injury lawsuit settlement value. Upon information and belief, Kaplan caused the report
           to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
           to support Claimant B’s workers’ compensation claim and personal injury lawsuit in
           furtherance of the scheme to defraud
    B-14. On or about July 6, 2022, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, Manhattan SC caused to be transmitted by mail, facsimile or
          email to the NY WCB a report pertaining to Claimant B’s July 6, 2022 right knee
          surgery performed by Kaplan. The medical services were unnecessary and/or were not
          causally related to the alleged accident, but were provided in order to increase the
          medical services for which Pain Defendants and Manhattan SC received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Manhattan SC caused the report
          to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
          to support Claimant B’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    B-15. On or about November 25, 2019, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Grimm caused a C-4 Form Initial Report regarding Claimant B’s
          November 12, 2019 examination to be transmitted to the NY WCB falsely noting
          lumbar radiculopathy and recommending epidural injections. The recommended
          medical services were unnecessary and/or were not causally related to the alleged
          accident, but were recommended and subsequently provided in order to increase the
          medical services for which NY Ortho Defendants received reimbursement and to
          increase workers’ compensation claim and personal injury lawsuit settlement value.
          Upon information and belief, Grimm caused his report to be transmitted by mail,
          facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant B’s
          workers’ compensation claim and personal injury lawsuit in furtherance of the scheme
          to defraud.
    B-16. On or about February 24, 2020, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Grimm caused to be transmitted to the NY WCB a C-4.2 Form
          Doctor’s Progress Note dated February 4, 2020 noting his treatment of Claimant B on
          December 2, 2019 with lumbar epidural steroid injection with diagnostic
          epidurography. The medical services were unnecessary and/or were not causally related
          to the alleged accident, but were provided in order to increase the medical services for
          which NY Ortho Defendants received reimbursement and to increase workers’
          compensation claim and personal injury lawsuit settlement value. Upon information
          and belief, Grimm caused his report to be transmitted by mail, facsimile or email to
          Wingate Partners and/or Bangel Partners to support Claimant B’s workers’



    EXHIBIT A                                                                                    8
Case 1:24-cv-06259-NCM-VMS           Document 1-1       Filed 09/06/24     Page 9 of 31 PageID #:
                                             84



             compensation claim and personal injury lawsuit in furtherance of the scheme to
             defraud.
     B-17. On or about September 2, 2020, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. §§ 1341 or 1343, Weinstein caused to be transmitted by mail, facsimile
           or email to the NY WCB a claim form and report of his September 2, 2020 examination
           of Claimant B in which he falsely diagnosed Claimant B with lumbar radiculopathy
           and spondylolisthesis. Upon information and belief, Weinstein caused his report to be
           transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
           support Claimant B’s workers’ compensation claim and personal injury lawsuit in
           furtherance of the scheme to defraud.
     B-18. On or about December 17, 2020, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. §§ 1341 or 1343, Weinstein caused to be transmitted by mail, facsimile
           or email to the NY WCB an operative report of Claimant B’s spinal fusion. The medical
           services were unnecessary and/or were not causally related to the alleged accident, but
           were provided in order to increase the medical services for which Weinstein Defendants
           received reimbursement and to increase workers’ compensation claim and personal
           injury lawsuit settlement value. Upon information and belief, Weinstein caused his
           report to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel
           Partners to support Claimant B’s workers’ compensation claim and personal injury
           lawsuit in furtherance of the scheme to defraud.
     B-19. On or about September 9, 2020, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. § 1343, Lenox Hill transmitted to NY WCB a claim form and report, a
           copy of which was also transmitted to Weinstein, of Claimant B’s MRI-lumbar spine
           on September 3, 2020 falsely noting disc herniation and disc bulging. Upon information
           and belief, Lenox Hill caused the report to be transmitted by mail, facsimile or email
           to Wingate Partners and/or Bangel Partners to support Claimant B’s workers’
           compensation claim and personal injury lawsuit in furtherance of the scheme to
           defraud.
     B-20. On or about September 9, 2020, in furtherance of the Fraud Scheme, and in violation
           of 18 U.S.C. § 1343, Lenox Hill transmitted to NY WCB a claim form and report, a
           copy of which was also transmitted to Weinstein, of Claimant B’s CT-lumbar spine and
           x-ray lumbar spine on September 3, 2020 falsely noting disc herniation and disc
           bulging. Upon information and belief, Lenox Hill caused the report to be transmitted
           by mail, facsimile or email to Wingate Partners and/or Bangel Partners to support
           Claimant B’s workers’ compensation claim and personal injury lawsuit in furtherance
           of the scheme to defraud.
  B-21. On or about December 6, 2019, in furtherance of the Fraud Scheme, and in violation of 18
  U.S.C. §§ 1341 or 1343, Kolb caused to be transmitted by mail, facsimile or email to the NY WCB
  Claimant B’s MRI-left shoulder report falsely noting a rotator cuff tear. Upon information and
  belief, Kolb caused his report to be transmitted by mail, facsimile or email to Wingate Partners

    EXHIBIT A                                                                                   9
Case 1:24-cv-06259-NCM-VMS           Document 1-1       Filed 09/06/24      Page 10 of 31 PageID
                                           #: 85



 and/or Bangel Partners to support Claimant B’s workers’ compensation claim and personal injury
 lawsuit in furtherance of the scheme to defraud.Claimant C
    C-22. On or about November 20, 2018, Runner Defendants recruited and/or introduced
          Claimant C to Wingate Defendants who together with Bangel Defendants referred
          Claimant C to the Medical Provider Defendants for purported diagnosis and treatment
          of medical conditions allegedly caused by a purported injury of that date during the
          course of Claimant C’s employment with a construction company. Claimant C,
          subsequently, was assisted by the Defendants to undergo diagnostic and treatment
          protocols that were unnecessary and were unrelated to the alleged accident for which
          Claimant C was compensated. Upon information and belief, the acts and conducts of
          the Defendants were effectuated, in part by means of telephone calls, texts, emails and
          use of the mails, in violation of 18 U.S.C. § 1341 (mail fraud), § 1343 (wire fraud,) and
          NY Penal Code § 215 (bribery).
    C-23. On or about October 19, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1341, Wingate Partners, or an employee of Wingate Firm at the direction
          of Wingate Partners, transmitted by mail a Verified Bill of Particulars dated October
          19, 2019 falsely attesting to the construction accident, the existence and/or extent of
          Claimant C’s injuries, and the necessity of Claimant C’s medical treatment.
    C-24. On or about October 11, 2021, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1341, Wingate Partners, or an employee of Wingate Firm at the direction
          of Wingate Partners, transmitted by mail a Third Supplemental Verified Bill of
          Particulars dated October 11, 2021 falsely attesting to the existence and/or extent of
          Claimant C’s injuries and the necessity of Claimant C’s medical treatment.
    C-25. On or about December 6, 2018, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Bangel Partners, or an employee of Bangel Firm at the direction
          of Bangel Partners, caused to be faxed to NY WCB a letter dated December 5, 2018
          signed by Cohen and Form C-3 Employee Claim dated November 27, 2018 for
          Claimant C falsely attesting to the construction accident, the existence and/or extent of
          Claimant C’s injuries, and the necessity of Claimant C’s medical treatment.
    C-26. On or about January 7 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Bangel Partners, or an employee of Bangel Firm at the direction of
          Bangel Partners, caused to be transmitted by facsimile or email to NY WCB a request
          for further action by legal counsel to establish the claim, make awards and issue
          attorney’s fees regarding Claimant C.
    C-27. On or about March 27, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1343, Bangel Partners, or an employee of Bangel Firm at the direction of
          Bangel Partners, caused to be emailed to NY WCB a fee application based on legal
          services rendered in connection with Claimant C’s false workers’ compensation claim.



  EXHIBIT A                                                                                     10
Case 1:24-cv-06259-NCM-VMS          Document 1-1        Filed 09/06/24     Page 11 of 31 PageID
                                          #: 86



    C-28. On or about March 20, 2020, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1343, Bangel Partners, or an employee of Bangel Firm at the direction of
          Bangel Partners, caused to be emailed to NY WCB a Request for Further Action
          seeking payment of attorneys fee to Bangel Firm based on Claimant C’s claim.
    C-29. On or about November 29, 2018, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, RJ PT Practice, or an employee of RJ PT Practice at
          the direction of RJ PT Practice, caused to be transmitted by facsimile, email or mail to
          the NY WCB a physical therapy evaluation report dated November 29, 2018 for
          Claimant C. The physical therapy was unnecessary and/or was not causally related to
          the alleged accident, but was requested and provided in order to increase the medical
          services for which RJ PT Practice received reimbursement and to increase workers’
          compensation claim and personal injury lawsuit settlement value. Upon information
          and belief, RJ PT Practice caused the report to be transmitted by mail, facsimile or
          email to Wingate Partners and/or Bangel Partners to support Claimant C’s workers’
          compensation claim and personal injury lawsuit in furtherance of the scheme to
          defraud.
    C-30. On or about February 11, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1343, RJ PT Practice, or an employee of RJ PT Practice at the direction
          of RJ PT Practice, caused to be transmitted by facsimile to the NY WCB a report of
          Claimant C’s January 24, 2019 re-evaluation seeking authorization for physical
          therapy. The physical therapy was unnecessary and/or was not causally related to the
          alleged accident, but was requested and provided in order to increase the medical
          services for which RJ PT Practice received reimbursement and to increase workers’
          compensation claim and personal injury lawsuit settlement value. Upon information
          and belief, RJ PT Practice caused the report to be transmitted by mail, facsimile or
          email to Wingate Partners and/or Bangel Partners to support Claimant C’s workers’
          compensation claim and personal injury lawsuit in furtherance of the scheme to
          defraud.
    C-31. On or about October 9, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1343, RJ PT Practice, or an employee of RJ PT Practice at the direction
          of RJ PT Practice, caused to be transmitted by facsimile or email to NY WCB a report
          of Claimant C’s September 6, 2019 physical therapy evaluation and daily therapy notes
          purportedly to address left shoulder pain. The physical therapy sessions by RJ PT
          Practice were unnecessary and/or were not causally related to the alleged accident, but
          were provided in order to increase the medical services for which RJ PT Practice
          received reimbursement and to increase workers’ compensation claim and personal
          injury lawsuit settlement value. Upon information and belief, RJ PT Practice caused
          the report and notes to be transmitted by mail, facsimile or email to Wingate Partners
          and/or Bangel Partners to support Claimant C’s workers’ compensation claim and
          personal injury lawsuit in furtherance of the scheme to defraud.



  EXHIBIT A                                                                                    11
Case 1:24-cv-06259-NCM-VMS          Document 1-1        Filed 09/06/24     Page 12 of 31 PageID
                                          #: 87



    C-32. On or about December 3, 2019, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Merola caused a C-4 Form Doctor’s Initial Report regarding his
          November 18, 2019 evaluation of Claimant C to be transmitted by email to the NY
          WCB in which he requested spinal fusion. The requested surgery was unnecessary
          and/or was not causally related to the alleged accident, but was requested and later
          provided in order to increase the medical services for which Merola received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Merola caused his report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant C’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    C-33. On or about November 21, 2019, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, Merola caused a report of the spinal fusion surgery he
          performed on Claimant C to be transmitted by mail, facsimile, or email to NY WCB.
          The surgery was unnecessary and/or was not causally related to the alleged accident,
          but was provided in order to increase the medical services for which Merola received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Merola caused his report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant C’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    C-34. On or about September 2, 2020, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, Merola caused a report of the C4-5 arthrodesis,
          corpectomy to be transmitted by mail, facsimile, or email to NY WCB. The surgery
          was unnecessary and/or was not causally related to the alleged accident, but was
          provided in order to increase the medical services for which Merola received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Merola caused his report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant C’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    C-35. On or about April 11, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Isaac caused to be transmitted by facsimile or email to NY WCB SFTP
          a report of his December 5, 2018 examination of Claimant C in which he recommended
          new x-rays of both hands. The requested x-rays were unnecessary and/or were not
          causally related to the alleged accident, but were requested and later provided in order
          to increase the medical services for which Hudson Defendants received reimbursement
          and to increase workers’ compensation claim and personal injury lawsuit settlement
          value. Upon information and belief, Isaac caused the report to be transmitted by mail,
          facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant C’s



  EXHIBIT A                                                                                    12
Case 1:24-cv-06259-NCM-VMS          Document 1-1       Filed 09/06/24     Page 13 of 31 PageID
                                          #: 88



           workers’ compensation claim and personal injury lawsuit in furtherance of the scheme
           to defraud.
    C-36. On or about August 1, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Hudson Practice caused a report of Claimant C’s July 18, 2019
          examination to be transmitted by facsimile to NY WCB recommending left shoulder
          surgery. The requested surgery was unnecessary and/or was not causally related to the
          alleged accident, but was requested and later provided in order to increase the medical
          services for which Hudson Defendants received reimbursement and to increase
          workers’ compensation claim and personal injury lawsuit settlement value. Upon
          information and belief, Hudson Practice caused the report to be transmitted by mail,
          facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant C’s
          workers’ compensation claim and personal injury lawsuit in furtherance of the scheme
          to defraud.
    C-37. On or about August 1, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Hudson Practice caused a request for authorization for left shoulder
          arthroscopy for Claimant C to be transmitted by facsimile to NY WCB. The requested
          surgery was unnecessary and/or was not causally related to the alleged accident, but
          was requested and later provided in order to increase the medical services for which
          Hudson Defendants received reimbursement and to increase workers’ compensation
          claim and personal injury lawsuit settlement value. Upon information and belief,
          Hudson Practice caused the report to be transmitted by mail, facsimile or email to
          Wingate Partners and/or Bangel Partners to support Claimant C’s workers’
          compensation claim and personal injury lawsuit in furtherance of the scheme to
          defraud.
    C-38. On or about February 25, 2019, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Lenox Practice caused to be transmitted by email to NY WCB
          report of Claimant C’s MRI of left ankle on February 20, 2019 falsely noting partial
          tears. Upon information and belief, Lenox Practice caused the report to be transmitted
          by mail, facsimile or email to Wingate Partners and/or Bangel Partners to support
          Claimant C’s workers’ compensation claim and personal injury lawsuit in furtherance
          of the scheme to defraud.
    C-39. On or about February 28, 2019, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Lenox Practice caused to be transmitted by email to WCB SFTP
          reports of Claimant C’s MRI of left shoulder and left knee on February 25, 2019 falsely
          noting tear and SLAP lesion. Upon information and belief, Lenox Practice caused the
          report to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel
          Partners to support Claimant C’s workers’ compensation claim and personal injury
          lawsuit in furtherance of the scheme to defraud
    C-40. On or about March 1, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Lenox Practice caused to be transmitted by facsimile or email to WCB

  EXHIBIT A                                                                                   13
Case 1:24-cv-06259-NCM-VMS           Document 1-1       Filed 09/06/24      Page 14 of 31 PageID
                                           #: 89



           SFTP reports of Claimant C’s MRI of left shoulder and left knee on February 25, 2019
           falsely noting tear and SLAP lesion. Upon information and belief, Lenox Practice
           caused the report to be transmitted by mail, facsimile or email to Wingate Partners
           and/or Bangel Partners to support Claimant C’s workers’ compensation claim and
           personal injury lawsuit in furtherance of the scheme to defraud.
    C-41. On or about July 30, 2020, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Kolb caused to be transmitted by email to the NY WCB Claimant C’s
          MRI-cervical report falsely noting a disc herniation at C4-5 impinging upon the thecal
          sac and a disc bulge at C5-6. Upon information and belief, Kolb caused his report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant C’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
 Claimant D
    D-42. On or about November 19, 2018, Runner Defendants recruited and/or introduced
          Claimant D to Wingate Defendants who together with Bangel Defendants referred
          Claimant D to the Medical Provider Defendants for purported diagnosis and treatment
          of medical conditions allegedly caused by a purported injury of that date during the
          course of Claimant D’s employment with a construction company. Claimant D,
          subsequently, was assisted by the Defendants to undergo diagnostic and treatment
          protocols that were unnecessary and were unrelated to the alleged accident for which
          Claimant D was compensated. Upon information and belief, the acts and conducts of
          the Defendants were effectuated, in part by means of telephone calls, texts, emails and
          use of the mails, in violation of 18 U.S.C. § 1341 (mail fraud), § 1343 (wire fraud,) and
          NY Penal Code § 215 (bribery).
    D-43. On or about July 30, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1341, Wingate Partners, or an employee of the Wingate Firm at the direction
          of Wingate Partners, transmitted by mail a Verified Bill of Particulars dated July 30,
          2019 falsely attesting to the construction accident, the existence and/or extent of
          Claimant D’s injuries, and the necessity of Claimant D’s medical treatment.
    D-44. On or about June 29, 2023, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, Wingate Partners, or an employee of the Wingate Firm at
          the direction of Wingate Partners, transmitted by mail, facsimile or email a 4th
          Supplemental Verified Bill of Particulars dated June 29, 2023 falsely attesting to the
          existence and/or extent of Claimant D’s injuries, and the necessity of Claimant D’s
          medical treatment.
    D-45. On or about December 4, 2018, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Bangel Partners, or an employee of the Bangel Firm at the
          direction of Bangel Partners, caused to be transmitted by facsimile to NY WCB a letter
          dated December 4, 2018 signed by Bangel and Form C-3 Employee Claim dated
          November 27, 2018 for Claimant D falsely attesting to the construction accident, the

  EXHIBIT A                                                                                     14
Case 1:24-cv-06259-NCM-VMS           Document 1-1       Filed 09/06/24      Page 15 of 31 PageID
                                           #: 90



           existence and/or extent of Claimant D’s injuries, and the necessity of Claimant D’s
           medical treatment.
    D-46. On or about December 7, 2018, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, CitiMed Practice, or an employee of the CitiMed
          Practice at the direction of CitiMed Practice, caused to be transmitted by facsimile,
          email or mail to NY WCB SFTP a report of initial evaluation of Claimant D by CitiMed
          Practice’s physician Adam Abdalla on December 7, 2018, falsely noting cervical,
          thoracic and lumbar spine sprain/strain and right shoulder, hip, knee and ankle
          derangement, and referring Claimant D for physical therapy, numerous MRIs,
          orthopedics, pain management and podiatrist. The medical services were unnecessary
          and/or were not causally related to the alleged accident, but were provided in order to
          increase the medical services for which CitiMed Practice and other Medical Provider
          Defendants received reimbursement and to increase workers’ compensation claim and
          personal injury lawsuit settlement value. Upon information and belief, CitiMed
          Practice caused the report to be transmitted by mail, facsimile or email to Wingate
          Partners and/or Bangel Partners to support Claimant D’s workers’ compensation claim
          and personal injury lawsuit in furtherance of the scheme to defraud.
    D-47. On or about December 28, 2018, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, CitiMed Practice, or an employee of the CitiMed
          Practice at the direction of CitiMed Practice, caused to be transmitted by facsimile,
          email or mail to NY WCB SFTP a report of physiatric initial evaluation of Claimant D
          by CitiMed Practice’s physician Adam Abdalla on December 7, 2018, falsely noting
          cervical, thoracic and lumbar spine sprain/strain and right shoulder, knee and ankle
          derangement, and referring Claimant D for physical therapy, numerous MRIs,
          orthopedics, pain management and podiatrist. The medical services were unnecessary
          and/or were not causally related to the alleged accident, but were provided in order to
          increase the medical services for which CitiMed Practice and other Medical Provider
          Defendants received reimbursement and to increase workers’ compensation claim and
          personal injury lawsuit settlement value. Upon information and belief, CitiMed
          Practice caused the report to be transmitted by mail, facsimile or email to Wingate
          Partners and/or Bangel Partners to support Claimant D’s workers’ compensation claim
          and personal injury lawsuit in furtherance of the scheme to defraud.
    D-48. On or about December 12, 2018, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, CitiMed Practice, or an employee of the CitiMed
          Practice at the direction of CitiMed Practice, caused to be transmitted by facsimile,
          email or mail to NY WCB a report of Claimant D’s December 12, 2018 orthopedic
          consultation by CitiMed Practice’s physician Barbara Steele falsely noting that the right
          shoulder, right knee, cervical spine, and lumbar spine conditions are related to the
          alleged workplace accident. The medical services were unnecessary and/or were not
          causally related to the alleged accident, but were provided in order to increase the
          medical services for which CitiMed Practice and other Medical Provider Defendants


  EXHIBIT A                                                                                     15
Case 1:24-cv-06259-NCM-VMS          Document 1-1       Filed 09/06/24     Page 16 of 31 PageID
                                          #: 91



           received reimbursement and to increase workers’ compensation claim and personal
           injury lawsuit settlement value. Upon information and belief, CitiMed Practice caused
           the report to be transmitted by mail, facsimile or email to Wingate Partners and/or
           Bangel Partners to support Claimant D’s workers’ compensation claim and personal
           injury lawsuit in furtherance of the scheme to defraud.
    D-49. On or about February 6, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, CitiMed Practice, or an employee of the CitiMed Practice
          at the direction of CitiMed Practice, caused to be transmitted by facsimile, email or
          mail to NY WCB SFTP a report of Claimant D’s December 18, 2018 MRIs of lumbar
          and thoracic spine falsely noting disc bulges with herniation and T7-T8 herniation with
          regional root encroachment. The medical services were unnecessary and/or were not
          causally related to the alleged accident, but were provided in order to increase the
          medical services for which CitiMed Practice and other Medical Provider Defendants
          received reimbursement and to increase workers’ compensation claim and personal
          injury lawsuit settlement value. Upon information and belief, CitiMed Practice caused
          the report to be transmitted by mail, facsimile or email to Wingate Partners and/or
          Bangel Partners to support Claimant D’s workers’ compensation claim and personal
          injury lawsuit in furtherance of the scheme to defraud.
    D-50. On or about March 18, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, CitiMed Practice, or an employee of CitiMed Practice at
          the direction of CitiMed Practice, caused to be transmitted by facsimile, email or mail
          to NY WCB a report of Claimant D’s March 18, 2019 examination by CitiMed
          Practice’s physician Barbara Steele falsely diagnosing Claimant D with right shoulder
          symptomatic traumatic internal derangement resulting from the alleged accident. The
          medical services were unnecessary and/or were not causally related to the alleged
          accident, but were provided in order to increase the medical services for which CitiMed
          Practice and other Medical Provider Defendants received reimbursement and to
          increase workers’ compensation claim and personal injury lawsuit settlement value.
          Upon information and belief, CitiMed Practice caused the report to be transmitted by
          mail, facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant
          D’s workers’ compensation claim and personal injury lawsuit in furtherance of the
          scheme to defraud.
    D-51. On or about July 8, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, CitiMed Practice, or an employee of the CitiMed Practice at
          the direction of CitiMed Practice, caused to be transmitted by facsimile, email or mail
          to NY WCB SFTP an operative report for Claimant D’s steroid injection performed by
          CitiMed Practice’s physician Mark Goodstein on May 21, 2019 at HealthPlus SC. The
          medical services were unnecessary and/or were not causally related to the alleged
          accident, but were provided in order to increase the medical services for which CitiMed
          Defendants received reimbursement and to increase workers’ compensation claim and
          personal injury lawsuit settlement value. Upon information and belief, CitiMed


  EXHIBIT A                                                                                   16
Case 1:24-cv-06259-NCM-VMS          Document 1-1       Filed 09/06/24     Page 17 of 31 PageID
                                          #: 92



           Practice caused the report to be transmitted by mail, facsimile or email to Wingate
           Partners and/or Bangel Partners to support Claimant D’s workers’ compensation claim
           and personal injury lawsuit in furtherance of the scheme to defraud.
    D-52. On or about July 8, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, HealthPlus SC, or an employee of the HealthPlus SC at the
          direction of HealthPlus SC, caused to be transmitted by mail, facsimile, email or mail
          to NY WCB SFTP an operative report for Claimant D’s steroid injection performed by
          CitiMed Practice’s physician Mark Goodstein on May 21, 2019. The medical services
          were unnecessary and/or were not causally related to the alleged accident, but were
          provided in order to increase the medical services for which CitiMed Defendants
          received reimbursement and to increase workers’ compensation claim and personal
          injury lawsuit settlement value. Upon information and belief, HealthPlus SC caused
          the report to be transmitted by mail, facsimile or email to Wingate Partners and/or
          Bangel Partners to support Claimant D’s workers’ compensation claim and personal
          injury lawsuit in furtherance of the scheme to defraud.
    D-53. On or about August 15, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, CitiMed Practice, or an employee of the CitiMed Practice
          at the direction of CitiMed Practice, caused to be transmitted by facsimile, email or
          mail to NY WCB SFTP an operative report for Claimant D’s steroid injection
          performed by CitiMed Practice’s physician Mark Goodstein on June 18, 2019. The
          medical services were unnecessary and/or were not causally related to the alleged
          accident, but were provided in order to increase the medical services for which CitiMed
          Defendants received reimbursement and to increase workers’ compensation claim and
          personal injury lawsuit settlement value. Upon information and belief, CitiMed
          Practice caused the report to be transmitted by mail, facsimile or email to Wingate
          Partners and/or Bangel Partners to support Claimant D’s workers’ compensation claim
          and personal injury lawsuit in furtherance of the scheme to defraud.
    D-54. On or about August 15, 2019, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, HealthPlus SC, or an employee of the HealthPlus SC at
          the direction of HealthPlus SC, caused to be transmitted by facsimile, email or mail to
          NY WCB SFTP an operative report for Claimant D’s steroid injection performed by
          CitiMed Practice’s physician Mark Goodstein on June 18, 2019. The medical services
          were unnecessary and/or were not causally related to the alleged accident, but were
          provided in order to increase the medical services for which CitiMed Defendants
          received reimbursement and to increase workers’ compensation claim and personal
          injury lawsuit settlement value. Upon information and belief, HealthPlus SC caused
          the report to be transmitted by mail, facsimile or email to Wingate Partners and/or
          Bangel Partners to support Claimant D’s workers’ compensation claim and personal
          injury lawsuit in furtherance of the scheme to defraud.
    D-55. On or about July 30, 2019, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, HealthPlus SC, or an employee of the HealthPlus SC at the

  EXHIBIT A                                                                                   17
Case 1:24-cv-06259-NCM-VMS          Document 1-1        Filed 09/06/24     Page 18 of 31 PageID
                                          #: 93



           direction of HealthPlus SC, caused to be transmitted by facsimile, email or mail to NY
           WCB SFTP an operative report for Claimant D’s left shoulder surgery performed by
           CitiMed Practice’s physician Barbara Steele on July 30, 2019. The medical services
           were unnecessary and/or were not causally related to the alleged accident, but were
           provided in order to increase the medical services for which CitiMed Defendants
           received reimbursement and to increase workers’ compensation claim and personal
           injury lawsuit settlement value. Upon information and belief, HealthPlus SC caused the
           report to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel
           Partners to support Claimant D’s workers’ compensation claim and personal injury
           lawsuit in furtherance of the scheme to defraud.
    D-56. On or about June 12, 2020, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, CitiMed Practice, or an employee of the CitiMed Practice at
          the direction of CitiMed Practice, caused to be transmitted by facsimile, email or mail
          to NY WCB SFTP an operative report for Claimant D’s right ankle surgery performed
          by CitiMed Practice’s physician Nazia Shah on June 12, 2020. The medical services
          were unnecessary and/or were not causally related to the alleged accident, but were
          provided in order to increase the medical services for which CitiMed Defendants
          received reimbursement and to increase workers’ compensation claim and personal
          injury lawsuit settlement value. Upon information and belief, CitiMed Practice caused
          the report to be transmitted by mail, facsimile or email to Wingate Partners and/or
          Bangel Partners to support Claimant D’s workers’ compensation claim and personal
          injury lawsuit in furtherance of the scheme to defraud.
    D-57. On or about June 12, 2020, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, HealthPlus SC, or an employee of the HealthPlus SC at the
          direction of HealthPlus SC, caused to be transmitted by facsimile, email or mail to NY
          WCB SFTP an operative report for Claimant D’s right ankle surgery performed by
          CitiMed Practice’s physician Nazia Shah on June 12, 2020. The medical services were
          unnecessary and/or were not causally related to the alleged accident, but were provided
          in order to increase the medical services for which CitiMed Defendants received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, HealthPlus SC caused the report
          to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
          to support Claimant D’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
 Claimant E
    E-58. On or about February 26, 2021, Runner Defendants recruited and/or introduced
          Claimant E to Wingate Defendants who together with Bangel Defendants referred
          Claimant E to the Medical Provider Defendants for purported diagnosis and treatment
          of medical conditions allegedly caused by a purported injury of that date during the
          course of Claimant E’s employment with a construction company. Claimant E,
          subsequently, was assisted by the Defendants to undergo diagnostic and treatment

  EXHIBIT A                                                                                    18
Case 1:24-cv-06259-NCM-VMS           Document 1-1       Filed 09/06/24      Page 19 of 31 PageID
                                           #: 94



           protocols that were unnecessary and were unrelated to the alleged accident for which
           Claimant E was compensated. Upon information and belief, the acts and conducts of
           the Defendants were effectuated, in part by means of telephone calls, texts, emails and
           use of the mails, in violation of 18 U.S.C. § 1341 (mail fraud), § 1343 (wire fraud,) and
           NY Penal Code § 215 (bribery).
    E-59. On or about December 8, 2021, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1341, Wingate Partners, or an employee of the Wingate Firm at the
          direction of Wingate Partners, transmitted by mail a Verified Bill of Particulars dated
          December 8, 2021 falsely attesting to the construction accident, the existence and/or
          extent of Claimant E’s injuries, and the necessity of Claimant E’s medical treatment.
    E-60. On or about March 5, 2021, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Bangel Partners, or an employee of the Bangel Firm at the direction
          of Bangel Partners, caused to be transmitted by email to NY WCB a letter dated March
          5, 2021signed by Bangel enclosing a Notice of Retainer and Appearance and Form C-
          3 Employee Claim for Claimant E falsely attesting to the construction accident, the
          existence and/or extent of Claimant E’s injuries, and the necessity of Claimant E’s
          medical treatment.
    E-61. On or about June 23, 2021, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1341, Bangel Partners, or an employee of the Bangel Firm at the direction
          of Bangel Partners, caused to be transmitted by email to the NY WCB the June 17,
          2021 operative report for Claimant E’s left shoulder arthroscopy performed by Hudson
          Practice and requesting that Claimant E’s payments be increased. The surgery was
          unnecessary and/or was not causally related to the alleged accident, but was provided
          in order to increase the medical services for which Hudson Practice received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value.
    E-62. On or about May 28, 2021, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. § 1343, Isaac caused to be transmitted by email to the NY WCB a report of his
          March 2, 2021 evaluation of Claimant E falsely noting left shoulder rotator cuff tear
          and recommending physical therapy and imaging services. The medical services were
          unnecessary and/or were not causally related to the alleged accident, but were provided
          in order to increase the medical services for which Hudson Defendants received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Isaac caused his report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant E’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    E-63. On or about December 14, 2021, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1341, Isaac caused to be transmitted by mail to the NY WCB a report
          of Claimant E’s left shoulder arthroscopy surgery on June 17, 2021. The medical

  EXHIBIT A                                                                                      19
Case 1:24-cv-06259-NCM-VMS           Document 1-1       Filed 09/06/24      Page 20 of 31 PageID
                                           #: 95



           services were unnecessary and/or were not causally related to the alleged accident, but
           were provided in order to increase the medical services for which Hudson Defendants
           received reimbursement and to increase workers’ compensation claim and personal
           injury lawsuit settlement value. Upon information and belief, Isaac caused his report to
           be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
           to support Claimant E’s workers’ compensation claim and personal injury lawsuit in
           furtherance of the scheme to defraud.
    E-64. On or about March 31, 2022, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. § 1343, Isaac caused to be transmitted by email to the NY WCB a report of
          Claimant E’s right knee surgery on February 24, 2022. The medical services were
          unnecessary and/or were not causally related to the alleged accident, but were provided
          in order to increase the medical services for which Hudson Defendants received
          reimbursement and to increase workers’ compensation claim and personal injury
          lawsuit settlement value. Upon information and belief, Isaac caused this report to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant E’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    E-65. On or about March 11, 2021, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, Kolb electronically signed and caused to be transmitted by
          facsimile, email or mail, his March 11, 2021 MRIs of Claimant E’s lumbar and cervical
          spine, wherein Kolb falsely noted disc herniations at C3-4, C4-5 and C5-6 and disc
          herniations at L3-4 and L4-5 and a disc bulge at L5-S1. Upon information and belief,
          Kolb caused his reports to be transmitted by mail, facsimile or email to Wingate
          Partners and/or Bangel Partners to support Claimant E’s workers’ compensation claim
          and personal injury lawsuit in furtherance of the scheme to defraud.
 Claimant F
    F-66. On or about September 3, 2021, Runner Defendants recruited and/or introduced
          Claimant F to Wingate Defendants who together with Bangel Defendants referred
          Claimant F to the Medical Provider Defendants for purported diagnosis and treatment
          of medical conditions allegedly caused by a purported injury of that date during the
          course of Claimant F’s employment with a construction company. Claimant F,
          subsequently, was assisted by the Defendants to undergo diagnostic and treatment
          protocols that were unnecessary and were unrelated to the alleged accident for which
          Claimant F was compensated. Upon information and belief, the acts and conducts of
          the Defendants were effectuated, in part by means of telephone calls, texts, emails and
          use of the mails, in violation of 18 U.S.C. § 1341 (mail fraud), § 1343 (wire fraud,) and
          NY Penal Code § 215 (bribery).
    F-67. On or about October 6, 2021, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, Halperin/Wingate Firm received from Golzad by mail,
          facsimile, or email, a report Golzad’s October 6, 2021 evaluation of Claimant F, falsely

  EXHIBIT A                                                                                     20
Case 1:24-cv-06259-NCM-VMS          Document 1-1       Filed 09/06/24      Page 21 of 31 PageID
                                          #: 96



           diagnosing Claimant F with concussion with loss of consciousness with post-traumatic
           headache and recommending various imaging services, neuropsychological evaluation
           and neurovestibular evaluation. The recommended medical services were unnecessary
           and/or were not causally related to the alleged accident, but were recommended in order
           to increase the medical services for which Golzad received reimbursement and to
           increase workers’ compensation claim and personal injury lawsuit settlement value.
    F-68. On or about December 12, 2022, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Wingate Partners, or an employee of the Wingate Firm at the
          direction of Wingate Partners, transmitted by email to defense counsel in the personal
          injury lawsuit attesting to Claimant F’s alleged accident and identifying Claimant F’s
          employer on the date of the alleged accident.
    F-69. On or about June 29, 2022, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, Golzad caused to be transmitted by mail, facsimile, or email,
          a report of his May 26, 2022 evaluation of Claimant F, falsely noting Claimant F as
          having posttraumatic headache and recommending continued physical therapy and
          recommending cognitive remediation therapy and ENT evaluation for tinnitus. The
          recommended medical services were unnecessary and/or were not causally related to
          the alleged accident, but were recommended in order to increase the medical services
          for which NYC MNO Defendants received reimbursement and to increase workers’
          compensation claim and personal injury lawsuit settlement value. Upon information
          and belief, Golzad caused his report to be transmitted by mail, facsimile or email to
          Wingate Partners and/or Bangel Partners to support Claimant F’s workers’
          compensation claim and personal injury lawsuit in furtherance of the scheme to
          defraud.
    F-70. On or about September 29, 2022, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, Golzad caused to be transmitted by mail, facsimile, or
          email, a report of his September 29, 2022 evaluation of Claimant F, falsely noting
          Claimant F as having posttraumatic headache and recommending continued cognitive
          remediation therapy as recommended by neuropsychologist and ENT evaluation for
          tinnitus. The recommended medical services were unnecessary and/or were not
          causally related to the alleged accident, but were recommended in order to increase the
          medical services for which NYC MNO Defendants received reimbursement and to
          increase workers’ compensation claim and personal injury lawsuit settlement value.
          Upon information and belief, Golzad caused his report to be transmitted by mail,
          facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant F’s
          workers’ compensation claim and personal injury lawsuit in furtherance of the scheme
          to defraud.
    F-71. On or about December 6, 2021, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail, facsimile,
          or email, his December 6, 2021 operative report of Claimant F’s left shoulder
          arthroscopy at S5A. The surgery performed by Tomasello was unnecessary and/or was

  EXHIBIT A                                                                                    21
Case 1:24-cv-06259-NCM-VMS          Document 1-1        Filed 09/06/24     Page 22 of 31 PageID
                                          #: 97



           not causally related to the alleged accident, but was provided in order to increase the
           medical services for which Cross Bay Defendants and S5A received reimbursement
           and to increase workers’ compensation claim and personal injury lawsuit settlement
           value. Upon information and belief, Tomasello caused his report to be transmitted by
           mail, facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant
           F’s workers’ compensation claim and personal injury lawsuit in furtherance of the
           scheme to defraud.
    F-72. On or about December 6, 2021, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, S5A caused to be transmitted by mail, facsimile, or
          email, a December 6, 2021 operative report of Claimant F’s left shoulder arthroscopy
          performed by Tomasello. The surgery performed by Tomasello was unnecessary and/or
          was not causally related to the alleged accident, but was provided in order to increase
          the medical services for which Cross Bay Defendants and S5A received reimbursement
          and to increase workers’ compensation claim and personal injury lawsuit settlement
          value. Upon information and belief, S5A caused the report to be transmitted by mail,
          facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant F’s
          workers’ compensation claim and personal injury lawsuit in furtherance of the scheme
          to defraud.
    F-73. On or about September 29, 2022, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail, facsimile,
          or email, a report of his September 29, 2022 evaluation of Claimant F, falsely noting
          meniscus tear of both knees and recommending arthroscopic surgery of the left knee.
          The medical services were unnecessary and/or were not causally related to the alleged
          accident, but were provided in order to increase the medical services for which Cross
          Bay Defendants received reimbursement and to increase workers’ compensation claim
          and personal injury lawsuit settlement value. Upon information and belief, Tomasello
          caused his report to be transmitted by mail, facsimile or email to Wingate Partners
          and/or Bangel Partners to support Claimant F’s workers’ compensation claim and
          personal injury lawsuit in furtherance of the scheme to defraud.
    F-74. On or about November 18, 2021 in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Kolb electronically signed and transmitted by facsimile to Pain
          Physicians Practice reports of November 8, 2021 MRI cervical and lumbar spine as
          requested by Pain Physicians Practice, wherein Kolb falsely noted disc herniation at
          C4-5 and disc herniation at L4-5. Upon information and belief, Kolb caused his reports
          to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners
          to support Claimant F’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    F-75. On or about November 29, 2021, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Kolb electronically signed and transmitted by facsimile to Cross
          Bay Practice reports of November 11, 2021 MRI of Claimant F’s knees as requested
          by Kosharskyy, wherein Kolb falsely noted a meniscus tear and partial tear of the

  EXHIBIT A                                                                                    22
Case 1:24-cv-06259-NCM-VMS           Document 1-1        Filed 09/06/24      Page 23 of 31 PageID
                                           #: 98



           ligament of the right knee and a meniscus tear of the left knee. Upon information and
           belief, Kolb caused his reports to be transmitted by mail, facsimile or email to Wingate
           Partners and/or Bangel Partners to support Claimant F’s workers’ compensation claim
           and personal injury lawsuit in furtherance of the scheme to defraud.
    F-76. On or about November 29, 2021, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. § 1343, Kolb electronically signed and transmitted by facsimile to Cross
          Bay Practice reports of November 12, 2021 MRI of Claimant F’s shoulders as
          requested by Kosharskyy, wherein Kolb falsely noted a tear of the anterior superior
          labrum with associated joint effusion in the right shoulder and a partial rotator cuff tear
          of the left shoulder. Upon information and belief, Kolb caused his reports to be
          transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
          support Claimant F’s workers’ compensation claim and personal injury lawsuit in
          furtherance of the scheme to defraud.
    F-77. On or about July 13, 2022, in furtherance of the Fraud Scheme, and in violation of 18
          U.S.C. §§ 1341 or 1343, Castro caused to be transmitted by mail, facsimile, or email,
          a report of his June 30, 2022 evaluation of Claimant F, falsely diagnosing Claimant F
          with cervical and lumbar radiculopathy and recommending continued physical therapy.
          The medical services were unnecessary and/or was not causally related to the alleged
          accident, but was provided in order to increase the medical services for which
          Weinstein Defendants received reimbursement and to increase workers’ compensation
          claim and personal injury lawsuit settlement value. Upon information and belief, Castro
          caused his report to be transmitted by mail, facsimile or email to Wingate Partners
          and/or Bangel Partners to support Claimant F’s workers’ compensation claim and
          personal injury lawsuit in furtherance of the scheme to defraud.
    F-78. On or about November 23, 2022, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, Weinstein caused to be transmitted by mail, facsimile,
          or email, a report of his November 23, 2022 evaluation of Claimant F, falsely
          diagnosing Claimant F with cervical and lumbar radiculopathy. The medical services
          were unnecessary and/or was not causally related to the alleged accident, but was
          provided in order to increase the medical services for which Weinstein Defendants
          received reimbursement and to increase workers’ compensation claim and personal
          injury lawsuit settlement value. Upon information and belief, Weinstein caused his
          report to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel
          Partners to support Claimant F’s workers’ compensation claim and personal injury
          lawsuit in furtherance of the scheme to defraud
    F-79. On or about October 7, 2021, in furtherance of the Fraud Scheme, and in violation of
          18 U.S.C. §§ 1341 or 1343, Kosharskyy caused to be transmitted by mail, facsimile,
          or email, a report of his October 7, 2021 evaluation of Claimant F recommending
          physical therapy, extracorporeal shockwave therapy, trigger point injections and MRIs.
          The medical services were unnecessary and/or was not causally related to the alleged
          accident, but was provided in order to increase the medical services for which Pain

  EXHIBIT A                                                                                       23
Case 1:24-cv-06259-NCM-VMS            Document 1-1        Filed 09/06/24     Page 24 of 31 PageID
                                            #: 99



            Defendants received reimbursement and to increase workers’ compensation claim and
            personal injury lawsuit settlement value. Upon information and belief, Kosharskyy
            caused his report to be transmitted by mail, facsimile or email to Wingate Partners
            and/or Bangel Partners to support Claimant F’s workers’ compensation claim and
            personal injury lawsuit in furtherance of the scheme to defraud.
    F-80. On or about November 18, 2021, in furtherance of the Fraud Scheme, and in violation
          of 18 U.S.C. §§ 1341 or 1343, Kosharskyy caused to be transmitted by mail, facsimile,
          or email, a report of his November 18, 2021 evaluation of Claimant F and epidural
          steroid injection. The medical services were unnecessary and/or was not causally
          related to the alleged accident, but was provided in order to increase the medical
          services for which Pain Defendants received reimbursement and to increase workers’
          compensation claim and personal injury lawsuit settlement value. Upon information
          and belief, Kosharskyy caused his report to be transmitted by mail, facsimile or email
          to Wingate Partners and/or Bangel Partners to support Claimant F’s workers’
          compensation claim and personal injury lawsuit in furtherance of the scheme to
          defraud.
 Predicate Acts Relating to Additional Claimants
 Claimant O1
 O-81. On or about February 21, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail to the NY WCB a report of
 Claimant O1’s right shoulder arthroscopy surgery on February 21, 2021 at NQSC. The medical
 services were unnecessary and/or were not causally related to the alleged accident, but were
 provided in order to increase the medical services for which Cross Bay Defendants and NQSC
 received reimbursement and to increase workers’ compensation claim and personal injury lawsuit
 settlement value. Upon information and belief, Tomasello caused his report to be transmitted by
 mail, facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant O1’s
 workers’ compensation claim and personal injury lawsuit in furtherance of the scheme to defraud.
 O-82. On or about February 21, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, NQSC caused to be transmitted by facsimile, email or mail to the NY
 WCB a report of Claimant O1’s right shoulder arthroscopy surgery on February 21, 2021
 performed by Tomasello. The medical services were unnecessary and/or were not causally related
 to the alleged accident, but were provided in order to increase the medical services for which Cross
 Bay Defendants and NQSC received reimbursement and to increase workers’ compensation claim
 and personal injury lawsuit settlement value. Upon information and belief, NQSC caused this
 report to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to
 support Claimant O1’s workers’ compensation claim and personal injury lawsuit in furtherance of
 the scheme to defraud.
 O-83. On or about July 10, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail to the NY WCB a report of
 Claimant O1’s right knee surgery on July 10, 2021 at S5A. The medical services were unnecessary

  EXHIBIT A                                                                                       24
Case 1:24-cv-06259-NCM-VMS            Document 1-1        Filed 09/06/24     Page 25 of 31 PageID
                                            #: 100



 and/or were not causally related to the alleged accident, but were provided in order to increase the
 medical services for which Cross Bay Defendants and S5A received reimbursement and to increase
 workers’ compensation claim and personal injury lawsuit settlement value. Upon information and
 belief, Tomasello caused his report to be transmitted by mail, facsimile or email to Wingate
 Partners and/or Bangel Partners to support Claimant O1’s workers’ compensation claim and
 personal injury lawsuit in furtherance of the scheme to defraud.
 O-84. On or about July 10, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, S5A caused to be transmitted by facsimile, email or mail to the NY WCB
 a report of Claimant O1’s right knee surgery on July 10, 2021 performed by Tomasello. The
 medical services were unnecessary and/or were not causally related to the alleged accident, but
 were provided in order to increase the medical services for which Cross Bay Defendants and S5A
 received reimbursement and to increase workers’ compensation claim and personal injury lawsuit
 settlement value. Upon information and belief, S5A caused this report to be transmitted by mail,
 facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant O1’s workers’
 compensation claim and personal injury lawsuit in furtherance of the scheme to defraud.
 Claimant O2
 O-85. On or about June 27, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail to the NY WCB a report of
 Claimant O2’s right shoulder surgery on June 27, 2021 at NQSC. The medical services were
 unnecessary and/or were not causally related to the alleged accident, but were provided in order to
 increase the medical services for which Cross Bay Defendants and NQSC received reimbursement
 and to increase workers’ compensation claim and personal injury lawsuit settlement value. Upon
 information and belief, Tomasello caused his report to be transmitted by mail, facsimile or email
 to Wingate Partners and/or Bangel Partners to support Claimant O2’s workers’ compensation claim
 and personal injury lawsuit in furtherance of the scheme to defraud.
 O-86. On or about June 27, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, NQSC caused to be transmitted by facsimile, email or mail to the NY
 WCB a report of Claimant O2’s right shoulder surgery on June 27, 2021 performed by Tomasello
 at NQSC. The medical services were unnecessary and/or were not causally related to the alleged
 accident, but were provided in order to increase the medical services for which Cross Bay
 Defendants and NQSC received reimbursement and to increase workers’ compensation claim and
 personal injury lawsuit settlement value. Upon information and belief, NQSC caused this report to
 be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to support
 Claimant O1’s workers’ compensation claim and personal injury lawsuit in furtherance of the
 scheme to defraud.
 Claimant O3
 O-87. On or about October 11, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail to the NY WCB a report of
 Claimant O3’s right knee surgery on October 11, 2021 at S5A. The medical services were
 unnecessary and/or were not causally related to the alleged accident, but were provided in order to

  EXHIBIT A                                                                                       25
Case 1:24-cv-06259-NCM-VMS            Document 1-1        Filed 09/06/24      Page 26 of 31 PageID
                                            #: 101



 increase the medical services for which Cross Bay Defendants and S5A received reimbursement
 and to increase workers’ compensation claim and personal injury lawsuit settlement value. Upon
 information and belief, Tomasello caused his report to be transmitted by mail, facsimile or email
 to Wingate Partners and/or Bangel Partners to support Claimant O3’s workers’ compensation claim
 and personal injury lawsuit in furtherance of the scheme to defraud.
 O-88. On or about October 11, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, S5A caused to be transmitted by facsimile, email or mail to the NY WCB
 a report of Claimant O3’s right knee surgery on October 11, 2021 performed by Tomasello. The
 medical services were unnecessary and/or were not causally related to the alleged accident, but
 were provided in order to increase the medical services for which Cross Bay Defendants and S5A
 received reimbursement and to increase workers’ compensation claim and personal injury lawsuit
 settlement value. Upon information and belief, S5A caused this report to be transmitted by mail,
 facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant O3’s workers’
 compensation claim and personal injury lawsuit in furtherance of the scheme to defraud.
 O-89. On or about February 20, 2023, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail to the NY WCB a report of
 Claimant O3’s left knee surgery on February 20, 2023 at S5A. The medical services were
 unnecessary and/or were not causally related to the alleged accident, but were provided in order to
 increase the medical services for which Cross Bay Defendants and S5A received reimbursement
 and to increase workers’ compensation claim and personal injury lawsuit settlement value. Upon
 information and belief, Tomasello caused his report to be transmitted by mail, facsimile or email
 to Wingate Partners and/or Bangel Partners to support Claimant O3’s workers’ compensation claim
 and personal injury lawsuit in furtherance of the scheme to defraud.
 O-90. On or about February 20, 2023, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, S5A caused to be transmitted by facsimile, email or mail to the NY WCB
 a report of Claimant O3’s left knee surgery on February 20, 2023 performed by Tomasello. The
 medical services were unnecessary and/or were not causally related to the alleged accident, but
 were provided in order to increase the medical services for which Cross Bay Defendants and S5A
 received reimbursement and to increase workers’ compensation claim and personal injury lawsuit
 settlement value. Upon information and belief, S5A caused this report to be transmitted by mail,
 facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant O3’s workers’
 compensation claim and personal injury lawsuit in furtherance of the scheme to defraud.
 Claimant O4
 O-91. On or about October 6, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, CitiMed Practice caused to be transmitted by mail to the NY WCB a
 report of Claimant O4’s right shoulder surgery on October 6, 2021 performed by an employee or
 agent of CitiMed Practice at SCOB. The medical services were unnecessary and/or were not
 causally related to the alleged accident, but were provided in order to increase the medical services
 for which CitiMed Practice and SCOB received reimbursement and to increase workers’
 compensation claim and personal injury lawsuit settlement value. Upon information and belief,

  EXHIBIT A                                                                                        26
Case 1:24-cv-06259-NCM-VMS            Document 1-1        Filed 09/06/24      Page 27 of 31 PageID
                                            #: 102



 CitiMed Practice caused the report to be transmitted by mail, facsimile or email to Wingate
 Partners and/or Bangel Partners to support Claimant O4’s workers’ compensation claim and
 personal injury lawsuit in furtherance of the scheme to defraud.
 O-92. On or about October 6, 2021, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, SCOB caused to be transmitted by facsimile, email or mail to the NY
 WCB a report of Claimant O4’s right shoulder surgery on October 6, 2021 performed by an
 employee or agent of CitiMed Practice. The medical services were unnecessary and/or were not
 causally related to the alleged accident, but were provided in order to increase the medical services
 for which CitiMed Practice and SCOB received reimbursement and to increase workers’
 compensation claim and personal injury lawsuit settlement value. Upon information and belief,
 SCOB caused this report to be transmitted by mail, facsimile or email to Wingate Partners and/or
 Bangel Partners to support Claimant O4’s workers’ compensation claim and personal injury
 lawsuit in furtherance of the scheme to defraud.
 O-93. On or about August 2, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, CitiMed Practice caused to be transmitted by mail to the NY WCB a
 report of Claimant O4’s lumbar medial branch block on August 2, 2022 performed by an employee
 or agent of CitiMed Practice at HealthPlus SC. The medical services were unnecessary and/or were
 not causally related to the alleged accident, but were provided in order to increase the medical
 services for which CitiMed Practice and HealthPlus SC received reimbursement and to increase
 workers’ compensation claim and personal injury lawsuit settlement value. Upon information and
 belief, CitiMed Practice caused the report to be transmitted by mail, facsimile or email to Wingate
 Partners and/or Bangel Partners to support Claimant O4’s workers’ compensation claim and
 personal injury lawsuit in furtherance of the scheme to defraud.
 O-94. On or about August 2, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, HealthPlus SC caused to be transmitted by facsimile, email or mail to
 the NY WCB a report of Claimant O4’s lumbar medial branch block on August 2, 2022 performed
 by an employee or agent of CitiMed Practice. The medical services were unnecessary and/or were
 not causally related to the alleged accident, but were provided in order to increase the medical
 services for which CitiMed Practice and HealthPlus SC received reimbursement and to increase
 workers’ compensation claim and personal injury lawsuit settlement value. Upon information and
 belief, HealthPlus SC caused this report to be transmitted by mail, facsimile or email to Wingate
 Partners and/or Bangel Partners to support Claimant O4’s workers’ compensation claim and
 personal injury lawsuit in furtherance of the scheme to defraud.
 O-95. On or about April 12, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, CitiMed Practice caused to be transmitted by mail to the NY WCB a
 report of Claimant O4’s cervical injection on April 12, 2022 performed by an employee or agent
 of CitiMed Practice at HealthPlus SC. The medical services were unnecessary and/or were not
 causally related to the alleged accident, but were provided in order to increase the medical services
 for which CitiMed Practice and HealthPlus SC received reimbursement and to increase workers’
 compensation claim and personal injury lawsuit settlement value. Upon information and belief,
 CitiMed Practice caused the report to be transmitted by mail, facsimile or email to Wingate

  EXHIBIT A                                                                                        27
Case 1:24-cv-06259-NCM-VMS            Document 1-1        Filed 09/06/24      Page 28 of 31 PageID
                                            #: 103



 Partners and/or Bangel Partners to support Claimant O4’s workers’ compensation claim and
 personal injury lawsuit in furtherance of the scheme to defraud.
 O-96. On or about April 12, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, HealthPlus SC caused to be transmitted by facsimile, email or mail to
 the NY WCB a report of Claimant O4’s cervical injection on April 12, 2022 performed by an
 employee or agent of CitiMed Practice. The medical services were unnecessary and/or were not
 causally related to the alleged accident, but were provided in order to increase the medical services
 for which CitiMed Practice and HealthPlus SC received reimbursement and to increase workers’
 compensation claim and personal injury lawsuit settlement value. Upon information and belief,
 HealthPlus SC caused this report to be transmitted by mail, facsimile or email to Wingate Partners
 and/or Bangel Partners to support Claimant O4’s workers’ compensation claim and personal injury
 lawsuit in furtherance of the scheme to defraud.
 Claimant O5
 O-97. On or about January 6, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, CitiMed Practice caused to be transmitted by mail to the NY WCB a
 report of Claimant O5’s left knee surgery on January 6, 2022 performed by an employee or agent
 of CitiMed Practice at SCOB. The medical services were unnecessary and/or were not causally
 related to the alleged accident, but were provided in order to increase the medical services for
 which CitiMed Practice and SCOB received reimbursement and to increase workers’
 compensation claim and personal injury lawsuit settlement value. Upon information and belief,
 CitiMed Practice caused the report to be transmitted by mail, facsimile or email to Wingate
 Partners and/or Bangel Partners to support Claimant O5’s workers’ compensation claim and
 personal injury lawsuit in furtherance of the scheme to defraud.
 O-98. On or about January 6, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, SCOB caused to be transmitted by facsimile, email or mail to the NY
 WCB a report of Claimant O5’s left knee surgery on January 6, 2022 performed by an employee
 or agent of CitiMed Practice. The medical services were unnecessary and/or were not causally
 related to the alleged accident, but were provided in order to increase the medical services for
 which CitiMed Practice and SCOB received reimbursement and to increase workers’
 compensation claim and personal injury lawsuit settlement value. Upon information and belief,
 SCOB caused this report to be transmitted by mail, facsimile or email to Wingate Partners and/or
 Bangel Partners to support Claimant O5’s workers’ compensation claim and personal injury
 lawsuit in furtherance of the scheme to defraud.
 O-99. On or about June 16, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, CitiMed Practice caused to be transmitted by mail to the NY WCB a
 report of Claimant O5’s right shoulder surgery on June 16, 2022 performed by an employee or
 agent of CitiMed Practice at SCOB. The medical services were unnecessary and/or were not
 causally related to the alleged accident, but were provided in order to increase the medical services
 for which CitiMed Practice and SCOB received reimbursement and to increase workers’
 compensation claim and personal injury lawsuit settlement value. Upon information and belief,

  EXHIBIT A                                                                                        28
Case 1:24-cv-06259-NCM-VMS            Document 1-1       Filed 09/06/24      Page 29 of 31 PageID
                                            #: 104



 CitiMed Practice caused the report to be transmitted by mail, facsimile or email to Wingate
 Partners and/or Bangel Partners to support Claimant O5’s workers’ compensation claim and
 personal injury lawsuit in furtherance of the scheme to defraud.
 O-100. On or about June 16, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, SCOB caused to be transmitted by facsimile, email or mail to the NY
 WCB a report of Claimant O5’s right shoulder surgery on June 16, 2022 performed by an employee
 or agent of CitiMed Practice. The medical services were unnecessary and/or were not causally
 related to the alleged accident, but were provided in order to increase the medical services for
 which CitiMed Practice and SCOB received reimbursement and to increase workers’
 compensation claim and personal injury lawsuit settlement value. Upon information and belief,
 SCOB caused this report to be transmitted by mail, facsimile or email to Wingate Partners and/or
 Bangel Partners to support Claimant O5’s workers’ compensation claim and personal injury
 lawsuit in furtherance of the scheme to defraud.
 Claimant O6
 O-101. On or about February 17, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, RJ PT Practice, or an employee of RJ PT Practice at the direction of RJ
 PT Practice, caused to be transmitted by facsimile, email or mail to the NY WCB a report of initial
 evaluation of Claimant O7 for spine, left shoulder and left knee recommending physical therapy
 and electrical stimulation. The medical service was unnecessary and/or was not causally related to
 the alleged accident, but was provided in order to increase the medical services for which RJ PT
 Practice received reimbursement and to increase workers’ compensation claim and personal injury
 lawsuit settlement value. Upon information and belief, RJ PT Practice caused this report to be
 transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to support
 Claimant O6’s workers’ compensation claim and personal injury lawsuit in furtherance of the
 scheme to defraud.
 O-102. On or about March 11, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, RJ PT Practice, or an employee of RJ PT Practice at the direction of RJ
 PT Practice, caused to be transmitted by facsimile, email or mail to the NY WCB physical therapy
 notes for Claimant O6 dated February 23, 2022, February 25, 2022, March 3, 2022, March 5, 2022,
 March 10, 2022, and March 11, 2022 purportedly to address back pain, left shoulder pain, and left
 knee pain. The physical therapy session were unnecessary and/or were not causally related to the
 alleged accident, but were provided in order to increase the medical services for which RJ PT
 Practice received reimbursement and to increase workers’ compensation claim and personal injury
 lawsuit settlement value. Upon information and belief, RJ PT Practice caused these reports to be
 transmitted by mail, facsimile or email to Wingate Partners and/or Bangel Partners to support
 Claimant O6’s workers’ compensation claim and personal injury lawsuit in furtherance of the
 scheme to defraud.
 O-103. On or about May 5, 2022, in furtherance of the Fraud Scheme, and in violation of 18 U.S.C.
 § 1343, Merola caused to be transmitted by email to NY WCB his May 5, 2022 C-4 Initial Report
 falsely diagnosing Claimant O6 with cervical radiculopathy. Upon information and belief, Merola

  EXHIBIT A                                                                                      29
Case 1:24-cv-06259-NCM-VMS            Document 1-1        Filed 09/06/24     Page 30 of 31 PageID
                                            #: 105



 caused his report to be transmitted by mail, facsimile or email to Wingate Partners and/or Bangel
 Partners to support Claimant O6’s workers’ compensation claim and personal injury lawsuit in
 furtherance of the scheme to defraud.
 O-104. On or about August 1, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, Merola caused to be transmitted by facsimile, email or mail to NY WCB
 a report of his August 1, 2022 examination of Claimant O6, requesting spinal surgery. The
 requested surgery was unnecessary and/or was not causally related to the alleged accident, but was
 provided in order to increase the medical services for which Merola received reimbursement and
 to increase workers’ compensation claim and personal injury lawsuit settlement value. Upon
 information and belief, Merola caused this report to be transmitted by mail, facsimile or email to
 Wingate Partners and/or Bangel Partners to support Claimant O6’s workers’ compensation claim
 and personal injury lawsuit in furtherance of the scheme to defraud.
 O-105. On or about August 18, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, CitiMed Practice caused to be transmitted by facsimile, email or mail to
 NY WCB a report of MRI scan of the brain of Claimant O6 requested by Golzad falsely claiming
 to show findings consistent with traumatic brain injury Upon information and belief, CitiMed
 Practice caused this report to be transmitted by mail, facsimile or email to Wingate Partners and/or
 Bangel Partners to support Claimant O6’s workers’ compensation claim and personal injury
 lawsuit in furtherance of the scheme to defraud.
 Claimant O7
 O-106. On or about November 23, 2021, in furtherance of the Fraud Scheme, and in violation of
 18 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail to the NY WCB a report
 of Claimant O7’s lumbar injection on November 23, 2021 at NQSC. The medical services were
 unnecessary and/or were not causally related to the alleged accident, but were provided in order to
 increase the medical services for which Cross Bay Defendants and NQSC received reimbursement
 and to increase workers’ compensation claim and personal injury lawsuit settlement value. Upon
 information and belief, NQSC caused this report to be transmitted by mail, facsimile or email to
 Wingate Partners and/or Bangel Partners to support Claimant O7’s workers’ compensation claim
 and personal injury lawsuit in furtherance of the scheme to defraud.
 O-107. On or about November 23, 2021, in furtherance of the Fraud Scheme, and in violation of
 18 U.S.C. §§ 1341 or 1343, NQSC caused to be transmitted by mail to the NY WCB a report of
 Claimant O7’s lumbar injection on November 23, 2021 performed by Tomasello. The medical
 services were unnecessary and/or were not causally related to the alleged accident, but were
 provided in order to increase the medical services for which Cross Bay Defendants and NQSC
 received reimbursement and to increase workers’ compensation claim and personal injury lawsuit
 settlement value. Upon information and belief, NQSC caused this report to be transmitted by mail,
 facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant O7’s workers’
 compensation claim and personal injury lawsuit in furtherance of the scheme to defraud.
 O-108. On or about May 14, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, Tomasello caused to be transmitted by mail to the NY WCB a report of

  EXHIBIT A                                                                                       30
Case 1:24-cv-06259-NCM-VMS            Document 1-1       Filed 09/06/24      Page 31 of 31 PageID
                                            #: 106



 Claimant O7’s right shoulder surgery on May 14, 2022 at NQSC. The medical services were
 unnecessary and/or were not causally related to the alleged accident, but were provided in order to
 increase the medical services for which Cross Bay Defendants and NQSC received reimbursement
 and to increase workers’ compensation claim and personal injury lawsuit settlement value. Upon
 information and belief, Tomasello caused this report to be transmitted by mail, facsimile or email
 to Wingate Partners and/or Bangel Partners to support Claimant O7’s workers’ compensation claim
 and personal injury lawsuit in furtherance of the scheme to defraud.
 O-109. On or about May 14, 2022, in furtherance of the Fraud Scheme, and in violation of 18
 U.S.C. §§ 1341 or 1343, NQSC caused to be transmitted by mail to the NY WCB a report of
 Claimant O7’s right shoulder surgery on May 14, 2022 performed by Tomasello. The medical
 services were unnecessary and/or were not causally related to the alleged accident, but were
 provided in order to increase the medical services for which Cross Bay Defendants and NQSC
 received reimbursement and to increase workers’ compensation claim and personal injury lawsuit
 settlement value. Upon information and belief, NQSC caused this report to be transmitted by mail,
 facsimile or email to Wingate Partners and/or Bangel Partners to support Claimant O7’s workers’
 compensation claim and personal injury lawsuit in furtherance of the scheme to defraud.




  EXHIBIT A                                                                                      31
